       Case 1-09-51286-cec                                             Doc 35                    Filed 06/15/10                                Entered 06/15/10 18:03:29




UNITED	  STATES	  BANKRUPTCY	  COURT	  	  
EASTERN	  DISTRICT	  OF	  NEW	  YORK	  	  
-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐-­‐X	  	  #:	  1-­09-­51286-­cec	  
IN	  RE:	  	                                       	                         	                         	                          	                         	                    Chapter	  11	  	  
	  
	                         IRINA	  CHATKHAN	  	  
	  
	                         	                         	                         	                         	                          Debtor	  
	                         	                         	                         	  
	  
-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­-­X	  
	  
	  
                                                             AFFIRMATION	  IN	  OPPOSITION	  TO	  LIFT	  THE	  STAY	  
	  
KARAMVIR S. DAHIYA OF Dahiya Law Offices LLC respectfully submit the
following in opposition to the motion to lift the stay:


         1.                At the very threshold it is contended that Roman Narovlianski and
                           Semyon Gutarts (“Movants”) through their attorney Mr. J. Fox, do not
                           have a standing to lift the stay. 	  
	  
         2.                The security interest has been rescinded under Truth in Lending Act by
                           virtue of giving a notice via filing of adversary complaint. See
                           Adversary No. 1-10-01126-cec Ex. A.	  
	  
         3.                They will have to prove that their security interest is valid in face of the
                           loan rescinding adversary that has been filed with this court.	  
	  
         4.                At best the movant is an unsecured creditors, against whom the debtor
                           has numerous claims both under federal and state laws. 	  
	  
         5.                A counterclaim addressed to the validity of the security interest sought
                           to be enforced may properly be made in response to a motion for relief
                           from the stay .	  
	  


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       Case 1-09-51286-cec      Doc 35       Filed 06/15/10   Entered 06/15/10 18:03:29




        6.    Issues collateral that can be considered should bear directly on the
              issues to be decided at the stay hearing--thus, an issue may be
              considered if it directly bears upon the amount of the creditor's claim
              since this may affect adequate protection and equity issues. United
              Cos. Financial Corp. v Brantley, 6 B.R. at 184-85.	  
	  
        7.    Issues like usury that would bar recovery in part or in full on the
              underlying debt; a total lack of consideration; unconscionable
              circumstances that would bar recovery on the underlying debt and
              lending not in conformity of law are some of the issues that have been
              held that bear directly on a specific debt that a creditor may seek to
              enforce through its lien. In re Village Import Enterprises, Inc., 126 B.R.
              307, 14 U.C.C. Rep. Serv. 2d 557 (Bankr. E.D. Tenn. 1991), also
              published at, 15 U.C.C. Rep. Serv. 2d 224 (Bankr. E.D. Tenn. 1991)
              (validity and perfection of lien); In re Dino & Artie's Automatic
              Transmission Co., Inc., 68 B.R. 264, 268, 15 Bankr. Ct. Dec. (CRR)
              314 (Bankr. S.D. N.Y. 1986) (validity of lien); In re Hickman, 34 B.R.
              310, 312-13 (Bankr. W.D. Ky. 1983) (issues relating to validity of
              security interest should be heard); United Cos. Financial Corp. v
              Brantley, 6 B.R. at 185.	  
	  
        8.    The security interest of the creditor has been rendered invalid by virtue
              of the filing of the adversary petition (Case No 1-10-01126-cec) and
              they have been served with a copy of the same. 	  


        9.    Creditor seeking relief from automatic stay and claiming interest in
              debtor's property bore burden of proving validity of its lien, even though
              issue of debtor's equity was being adjudicated within context of lift stay
              motion, not adversary proceeding. Bankr.Code, 11 U.S.C.A. § 362. In

              re Pandeff 201 B.R. 865 Bkrtcy.S.D.N.Y.,1996        .

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       Case 1-09-51286-cec     Doc 35     Filed 06/15/10    Entered 06/15/10 18:03:29




        10.   Once the debtor institutes an adversary proceeding, “the burden
              would be on the creditor claiming an interest in the debtor's property to
              prove the validity of its lien. See H.J. Butler & Bro., Inc. v. Irving Trust
              Co. ( In re Friedal Corp.), 53 F.2d 758 (2d Cir.1931) (citing Brandt v.
              City of New York, 110 A.D. 396, 97 N.Y.S. 280, aff'd, 186 N.Y. 599, 79
              N.E. 1101 (1906)).” Supra In Re Pandeff. 	  


        11.   By virtue of filing of the adversary which serves as complaint the lien is
              rendered void.


        12.   Once the rescission takes place, the security interest or lien arising by
              operation of law on the property becomes automatically void. 15
              U.S.C. §1635 (b); Reg. Z §§226.15(d)(1), 226.23 (d)(1); 69 Fed. Reg.
              16, 769.


        13.   Upon rescission, the promissory note is voided, since it is a part of
              transaction. Arnold v. WDL Invs. Inc., 703 F.2d 848, 849 (5th Cir. 1983)
              (notes canceled along with the mortgage); Swayze v. Americquest
              Mortgage Co., No. 1:03 cv 733 WSD (N.D Ga Mar.9, 2004). Elsner v.
              Albercht, 185 Mich. App. 72, 460 N.W. 2d 232 (a990) (consumer
              rescind the transaction including pendent documents such as the
              promissory note”).


        14.   Upon rescission, the creditor’s interest in the property is automatically
              negated regardless of its status and whether or not it was recorded or
              perfected. Official Staff Commentary §§226.15 (d)(1)-1, 226.23
              (d)(d)(1)-1.


        15.   Thus the security interest is void and of no legal effect irrespective of
              whether the creditor makes any affirmative response to the notice. Gill



	                                                                                           3	  
       Case 1-09-51286-cec     Doc 35     Filed 06/15/10     Entered 06/15/10 18:03:29




              v. Mid-Penn Consumer Discount Co.,671 F. Supp. 1021, 1026 (E.D.
              Pa 1987) aff’d mem. 853 F.ed 917 (3rd Cir. 1988)
	  
        16.   When debtor's defense to motion for relief from automatic stay
              contests validity of creditor's lien, as distinguished from amount of lien,
              court should entertain issue. In re Dino & Artie's Automatic
              Transmission Co., Inc. 68 B.R. 264 Bkrtcy.S.D.N.Y.,1986.	  


        17.   This court must make a preliminary determination as to whether the
              claim is valid. Further, if the party brining the action is the party in
              interest. 	  
	  
        18.   Bankruptcy judge did not abuse his discretion in denying mortgage
              lenders' motions for relief from automatic stay in Chapter 7
              proceedings, even if debtors had no equity in properties sought to be
              foreclosed upon, and properties were not necessary to effective
              reorganizations, where bankruptcy judge was presented with evidence
              suggesting that loans based upon which lenders sought to foreclose on
              debtors' homes had been rescinded under Truth in Lending Act (TILA).
              11 U.S.C.A. § 362(d); Truth in Lending Act, § 125, 15 U.S.C.A. § 1635.
              In re Hubbel --- B.R. ----, 2010 WL 1222777 N.D.Cal.,2010.	  


        19.   The creditors need to respond to the adversary to prove their claim on
              the property.


Cancellation of loan, rescission notice:


        20.   TILA provides that in the case of any consumer credit transaction in
              which a security interest will be retained on any property used as the
              consumer's principal dwelling, the consumer shall have the right to
              rescind the transaction until midnight of the third business day


	                                                                                       4	  
       Case 1-09-51286-cec     Doc 35     Filed 06/15/10    Entered 06/15/10 18:03:29




              following the consummation of the transaction or delivery of the
              material disclosure and rescission forms, whichever is later. 15 U.S.C.
              § 1635(a). If the creditor fails to deliver the forms, or fails to provide the
              required information, then the consumer's right of rescission extends
              for three years after the date of consummation of the transaction. 15
              U.S.C. § 1635(f).


        21.   The Consumer may exercise the right to rescind until midnight of the
              third business day following consummation, delivery of the notice
              required by paragraph (b) or this section, or delivery of all material
              disclosures, whichever occurs last. If the required notice or material
              disclosures are not delivered, the right to rescind shall expire 3 years
              after consummation, upon transfer of all the consumer's interest in the
              property, or upon sale of the property, whichever occurs first.12 C.F.R.
              § 226.23(a)(3)




        22.   TILA and “Regulation Z” address how a consumer is to exercise its
              right to rescind. TILA's implementing regulations, 12 C.F.R. §§ 226 et
              seq., known as "Regulation Z" are promulgated by the Federal
              Reserve Board. Hamm v. Ameriquest Mortg. Co., 506 F.3d 525, 528
              (7th Cir. 2007). Regulation Z provides that "to exercise the right to
              rescind, the consumer shall notify the creditor of the rescission by mail,
              telegram or other means of written communication." 12 C.F.R.
              §226.23(a)(2).


        23.   TILA gives a consumer the right to rescind a credit transaction simply
              by notifying the creditor, within a specific period of time, that she
              intends to do so. See Lippner v. Deutsche Bank Nat. Trust Co., 544
              F.Supp.2d 695, 701 (N.D. Ill. 2008) (finding that proper and timely
              submission of a written



	                                                                                        5	  
       Case 1-09-51286-cec       Doc 35   Filed 06/15/10    Entered 06/15/10 18:03:29




              rescission demand entitles borrower to the remedy of rescission under
              § 1635).


        24.   The filing of a judicial complaint is a "written communication" within the
              meaning of the regulation. Jones v. Saxon Mortgage, 1998 U.S.App.
              LEXIS 22101, *12 (4th Cir.1998), published opinion; accord Cazares v.
              Household Fin. Corp., 2005 U.S. Dist. LEXIS 39222, *22-23
              (C.D.Cal.2005); Taylor v. Domestic Remodeling, Inc., 97 F.3d 96, 100
              (5th Cir.1996); Fairbanks Capital Corp. v. Jenkins, 225 F.Supp.2d 910,
              913-4 (N.D.Ill.2002); Pulphus v. Sullivan, 2003 U.S. Dist. LEXIS 7080,
              *50 (N.D.Ill.2003); McIntosh v. Irwin Union Bank & Trust, Co., 215
              F.R.D. 26, 32 (D.Mass.2003); Eveland v. Star Bank, NA, 976 F. Supp.
              721, 726 (S.D. Ohio 1997); Elliott v. ITT Corp., 764 F. Supp. 102, 106
              (N.D. Ill. 1991); In re Rodrigues v. U.S. Bank, 278 B.R. 683, 689
              (Bankr. D. R.I. 2002) (Votolato, Br. J.) ., Elliott v. ITT Corp., 764 F.
              Supp. 102, 106, R.I.C.O. Bus. Disp. Guide (CCH) ¶; 7732 (N.D. Ill.
              1991); Hunter v. Richmond Equity, 1987 WL 109703 (N.D. Ala. 1987);
              McKenna v. First Horizon Home Loan Corp., 429 F. Supp. 2d 291 (D.
              Mass. 2006), decision rev'd on other grounds, 475 F.3d 418 (1st Cir.
              2007); Harris v. OSI Financial Services, Inc., 595 F. Supp. 2d 885
              (N.D. Ill. 2009) (filing and serving a complaint constitutes sufficient
              notice providing the complaint clearly states intent to rescind and
              specifically names party to whom rescission demand is addressed);
              Pelayo v. Home Capital Funding, 2009 WL 1459419 (S.D. Cal. 2009);
              In re Dawson, 2008 WL 1700419 (Bankr. D. D.C. 2008) (service of
              complaint is sufficient to put creditor on notice of exercise of right of
              rescission).	  
        25.   The filing of the complaint constitutes statutory notice of rescission
              pursuant to 12 C.F.R. § 226.23(a)(3). Taylor v. Domestic Remodeling,
              Inc. 97 F.3d 96 C.A.5 (Miss.),1996.




	                                                                                        6	  
       Case 1-09-51286-cec     Doc 35    Filed 06/15/10    Entered 06/15/10 18:03:29




        26.   Plaintiffs have invoked their right to rescind the loan transaction
              pursuant to 15 U.S.C. §§1635 and 1639, which authorize an obligor to
              rescind a transaction as late as three years after it is consummated if
              the required disclosures are not made. See Williams v. Homestake
              Mortg. Co., 968 F.2d 1137, 1139 n.5 (11th Cir. 1992) (“the consumer’s
              ability to rescind an agreement may be extended for up to three years
              if the creditor fails to make all material disclosures required by TILA).


        27.   The Movant had made no disclosures in this case, there no notice of
              any kind, in compliance with Truth in Lending was given.


Characteristics of HOEPA loan and its application here:


        28.   High Cost Mortgage transactions demanding special treatment and
              regulatory compliance under Truth in Lending Act is mandatory if the
              following conditions are met:


                 a. Transaction must be secured by a first or subordinate lien on
                     the consumer’s principal dwelling. 12 C.F.R. §§ 226.31, 226.32


                 b. It must be one to four family residential structure, whether or not
                     attached to real property, and may include a condominium, co-
                     operative or mobile home. Regulation Z § 226.32 (a)(1)


                 c. A transaction secured by the consumer principal dwelling (
                     unless exempt under Regulation Z section 226.32 (a)(2) will be
                     subject to special requirements under either or both of the
                     following scenarios: (1) the annual percentage rate
                     consummation will exceed by more than eight percentage
                     points the yield on Treasury securities having comparable



	                                                                                        7	  
       Case 1-09-51286-cec                                              Doc 35                    Filed 06/15/10                                 Entered 06/15/10 18:03:29




                                              periods of maturity to the loan1, as of the fifteenth day of the
                                              month immediately preceding the month in which the application
                                              was taken; or the total points and fees payable by the
                                              consumer at or before the closing will exceed the greater of 8%
                                              of the total loan amount, or a dollar amount that is adjusted
                                              annually by the Board (initially $400). Regulation Z §§ 226.32
                                              (a)(1)(i), 226.32 (a)(1)(ii).


                                     d. Regulation Z, section 226.32 expands the definition of creditor
                                              for these High Cost loans by including a person who during any
                                              12 –month period originates more than one covered transaction
                                              or makes a single covered transaction subject to section 226.32
                                              through a broker. Regulation Z § 226.2 (a)(17)(i)(A).


         29.                The loan by the movant is an HOEPA loan.


         30.                This loan of $650,000 was structured with a lien on the residential
                            property of the debtor. One condition of HOEPA loan satisfied Ex.
                            B




         31.                The Interest Rate on the loan charged was more than 13.5% (to be
                            paid 7312.50 a month for 12 months), plus a fees of $6,500 (fees for
                            this loan) and then balloon payment of the principal of $650,000. This
                            was a One Year loan. See the Note. Ex B


         32.                In the month of August, 2007 when the debtor went to Magic Land
                            Capital LLC for getting loan, the rates for one year treasury bond (
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  By	  referencing	  “comparable	  maturities”	  the	  law	  requires	  that	  the	  creditor	  evaluate	  

the	  rate	  for	  treasury	  bonds	  of	  the	  same	  duration	  as	  the	  loan.	  For	  example,	  coverage	  
for	  a	  five	  year	  loan	  will	  be	  evaluated	  by	  reference	  to	  the	  treasury	  five	  year	  bond	  
rates.	  	  

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       Case 1-09-51286-cec      Doc 35   Filed 06/15/10   Entered 06/15/10 18:03:29




              same as the duration of this loan) was 4.31 and with plus 8% trigger it
              gave an amount of 12.31. Any amount with an interest of 12.31% or
              more will be attracting HOEPA provision, provided all other conditions
              are also met. In this case the loan interest rate exceeded 12.31%.
              Second Condition of HOEPA satisfied.


        33.   The loan was facilitated by the mortgage broker Magic Land Capital
              LLC and the lenders are the movant Roman Narovalianski and
              Semyon Gutarts, thus clearly creditors under the TILA (under
              expanded definition of HOEPA creditors). Third Condition of HOEPA
              satisfied.




        34.   This loan was provided in violation of all provisions of HOEPA and
              same has been rescinded.


        35.   Since the rescission notice and all other material disclosures were not
              provided, in such circumstances, the right to rescind continues until
              whichever of the following events occurs first:


              a. The expiration of three years after consumption of the transaction.
                 15 USC §1635 (f); Reg. Z §§ 226.15 (a)(3).


                     i. Three years haven’t lapsed as yet. Security obtained on
                           September 27, 2007 (3 years expires on September, 2010).


              b. The transfer of all of the consumer’s interest in the property. USC
                 §1635 (f); Reg. Z §§ 226.15 (a)(3).


                     i. The debtor still continues to occupy the property.




	                                                                                      9	  
       Case 1-09-51286-cec        Doc 35    Filed 06/15/10    Entered 06/15/10 18:03:29




                 c. The sale of the property. USC §1635 (f); Reg. Z §§ 226.15 (a)(3).


                          i. The property hasn’t been sold.




        36.      The loan has been rescinded properly and within the foregoing time
                 limit.


        37.      Following special disclosures must be provided to a borrower in
                 HOEPA loans and these were not provided.


                 a. A prescribed warning notice regarding the transaction. Regulation
                     Z §§ 226.32 (c)(1).


                 b. The annual percentage rate. Regulation Z §§ 226.32 (c)(2).


                 c. The amount of regular periodic payment. Regulation Z §§ 226.32
                     (c)(3).


                 d. These foregoing must be provided in addition to other disclosure
                     that is required under Regulation Z. Regulation Z §§ 226.32 (a).


26.           These aforesaid required disclosures should have been provided at least
              three business days prior to the consummation of the loan on September
              27, 2007. Regulation Z §226.31 (c)-1.




27.           HOEPA requires an advance look disclosure stating that the consumer is
              not required to complete the transaction merely because of having
              signed an application or having received the disclosures, and that the
              home might be lost if the consumer does not meet the obligations under



	                                                                                      10	  
       Case 1-09-51286-cec     Doc 35    Filed 06/15/10    Entered 06/15/10 18:03:29




           the loan. It also gives advance disclosure of important terms as the APR
           and the payment amount. TILA defines the advance look disclosure a
           material ,and failure to give a copy to each borrower three days before
           closing extend the rescission right. See Johnson v. Know fin. Group. 2004
           WL 1179335, at 3 (E.D. Pa. May 26, 2004) (nondelivery of advance look
           disclosure extends rescission period); Williams. V. Bankone (In re
           Williams), 291 B.R. 636, 649-650 (Bankr. ED Pa. Apr 3, 2003). See also
           Bland v. Carone Famuly Trust 2007 WL 951344 (S.D. Cal. Mar. 19,
           2007)(granting TRO against foreclosure where consumers alleged they
           did not receive advance look disclosure).


27.        The three day period between the delivery of the disclosure and the time
           of consummation is a cooling-off period during which the consumer may
           reject the transaction. Regulation Z §226.31 (c)(1)(iii).


28.        There was not even a single document, that was necessary under HOEPA
           given here.


PROPERTY VALUE EXCEEDS THE DEBT.


28.        The debtors’ home has substantial equity. The debtor has willing buyers
           for the property with an offer exceeding $900,000. There is enough equity
           in the property and further the property is necessary for the purposes of
           reorganization her debts and financial rehabilitation. Ex. C


29.        The movant’s mislead this court when they deliberately undervalue the
           property only for the sole purposes of seeking a remedy under Section
           362 (d).




	                                                                                     11	  
        Case 1-09-51286-cec      Doc 35    Filed 06/15/10   Entered 06/15/10 18:03:29




30           There is no security interest, it has been rescinded and further the claims
             of the movant is laced with fraud. See Adversary filed in this case against
             the movants.




Wherefore it is respectfully submitted the motion be dismissed and the movants
       be compelled to file answer to the adversary as filed.


Dated: June 15, 2010                                   s/ Karamvir dahiya
New York New York                               sincerely:_____________________
                                                         Karamvir S. Dahiya, Esq.




	  




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